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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

                              Plaintiff,
vs.                                                                         NO. 19-CR-3113-JB


ROBERT PADILLA, a.k.a. “Fat Head,”
ROSE ANN ROMERO,
JOHNATHAN VIGIL, a.k.a. “Lil John,”
ROBERT HOCKMAN, a.k.a. “Tony,”
MARCOS RUIZ, a.k.a. “Mark,”
LUIS SANCHEZ, a.k.a. “Payaso,”
ASHLEY ROMERO,
TOMAS SANCHEZ, a.k.a. “T.J.,”
AMANDA SILVA,
SERGIO VALDEZ,
GENEVIVE ATENCIO, and
JANAYA ATENCIO,
                              Defendants.

       UNOPPOSED MOTION FOR EXTENSION OF TIME TO FILE TITLE III
         DISCOVERY MOTIONS AND TO CONTINUE MOTION HEARING

       Defendant Rose Ann Romero, by and through Counsel of record, Ahmad Assed, Esq.,

hereby respectfully moves the Court to extend the deadline to file Title III discovery motions to

February 4, 2021, and extend related response and reply deadlines accordingly, and to continue

the hearing currently scheduled for February 4-5, 2021 for Pretrial Motions and Title III

Discovery Motions by thirty (30) days. In support thereof, Ms. Romero states:

1.     On November 5, 2020, a Scheduling Order was entered in this matter setting a deadline

of December 4, 2020 for filing Title III discovery motions, with responses due by December 18,

2020, and replies due by December 30, 2020. (Doc. 288) On December 8, 2020, an extension

was granted extending the deadline to January 4, 2021; responses to January 18, 2021; and
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replies to January 30, 2021. (Doc. 294) These motions are scheduled to be heard on February 4,

2021.

2.      Counsel for the defense and his expert need an additional thirty (30) days to complete

review of Title III related evidence in this matter. Disclosure of evidence to date consists of

close to one terabyte of evidence which has been being processed and disbursed by an attorney

assigned to this matter specifically for this purpose. Counsel for the defense has been diligently

reviewing the voluminous evidence for the purpose of identifying such evidence and determining

the need for further disclosures which would be addressed through a Title III discovery motion.

3.      Counsel for the defense has continued to be restricted in their ability to conduct face-to-

face meetings with clients to review and discuss discovery by the current orders by the State as

to limiting community contact. As such, counsel has been delayed in the ability to obtain client

input related to the Title III evidence.

4.      Extending the Title III discovery motions deadline to February 4, 2021 for filing of such

motions; to February 18, 2021 for responses; and to March 2, 2021 for replies would require a

continuation of the hearing currently scheduled for February 4, 2021. Counsel requests the

hearing be continued to a date after March 2, 2021 to be determined by the Court.

5.      All defendants join in this motion via their counsel of record.

6.      The Government, via AUSA Elaine Ramirez, does not oppose the requested relief.

     WHEREFORE, Rose Ann Romero respectfully requests that the Court extend the deadlines

for filing Title III discovery motions, responses and replies as requested above and continue the

Motions Hearing currently scheduled for February 4, 2021 accordingly to a date to be

determined by the Court.
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                                                     Respectfully Submitted,

                                                     /s/______________________________
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                                                     Attorney for Rose Ann Romero




I HEREBY CERTIFY that a true and correct
copy of the foregoing was delivered electronically
to parties of record, via the CM/ECF system,
on this 4th day of January, 2021.

/s/
Ahmad Assed, Esq.
Attorney at Law
